Case 1:13-cr-10200-GAO Document 180-1 Filed 02/20/14 Page 1 of 7

UNITED STATES DISTRICE.COURT. .
DISTRICT OF MASSACHUSETTS

> 1:74
nih FEB \\ t— o£ \

FILED UNDER SEAL

UNITED STATES OF AMERICA ) bee Pies
) No. 13-CR-10200-GAO
Vv. )
)
)
DZHOKHAR TSARNAEV )

SUPPLEMENTAL MEMORANDUM IN
SUPPORT OF MOTION TO VACATE SAMs

On October 3, 2013, the defendant, through counsel, filed a motion to vacate the Special
Administrative Measures that were imposed on the defendant and counsel in late August, 2013.
[Dkt. #110.] The motion remains pending. At a hearing on November 12, 2013, the Court
advised:

So what I’m mostly interested in is whether there is practical interference to any

substantial degree and in what respects, with the ability of the defense to prepare

because of these limitations. Not whether they’re annoying, but whether they are
inhibiting.
11/12/13 Tr. at 17. The defense responded on the record at that time and now makes this
supplemental filing to advise the court of further developments concerning the SAMs and
their impact on the defense.

Notably, in the wake of the Court’s comments at the November 12, 2013, hearing, the
government did agree to modify provisions 2d and 2e of the SAMs to permit additional defense
team members to disseminate the content of the defendants’ statements to third parties for the
purpose of preparing the defense. The government also agreed to add additional defense team

members to the pre-cleared list of individuals who may meet unaccompanied with the defendant.

These modifications were memorialized and took effect on November 27, 2013.
Case 1:13-cr-10200-GAO Document 180-1 Filed 02/20/14 Page 2 of 7

Apart from these accommodations, however, the government has not modified the SAMs,
which continue to interfere with preparation of the defense in important ways. Specifically, as
detailed below, the defense is encountering obstacles related to FBI monitoring of family visits
and BOP screening of materials that defense counsel need to review with the defendant. These
obstacles thwart preparation of important parts of the defense case in mitigation and also threaten
the integrity of attorney work product.

The Supreme Court has held repeatedly that a capital defendant has a broad right to
present any mitigating evidence to the jury. See, e.g., Ayers v. Belmonte, 549 U.S. 7 (2006)
(describing the jury’s penalty phase task as weighing “the finite aggravators against the
potentially infinite mitigators”); Tennard v. Dretke, 524 U.S. 274 , 284-85 (2004). Defense
counsel thus have a corresponding obligation to investigate mitigating evidence, and to develop
and preserve that evidence for presentation to the jury. See, e.g., Porter v. McCollum, 558 US.
30, 40-41 (2009); Wiggins v. Smith, 539 U.S. 510, 524-25 (2003); Strickland v. Washington, 466
U.S. 668, 690-91 (1984).

The Supreme Court has also confirmed that the work product doctrine plays an essential
role in the integrity of criminal cases:

Although the work-product doctrine most frequently is asserted as a bar to

discovery in civil litigation, its role in assuring the proper functioning of the

criminal justice system is even more vital. The interests of society and the

accused in obtaining a fair and accurate resolution of the question of guilt or

innocence demand that adequate safeguards assure the thorough preparation and

presentation of each side of the case.

At its core, the work-product doctrine shelters the mental processes of the

attorney, providing a privileged area within which he can analyze and prepare his

client's case.

United States v. Nobles, 422 U.S. 225, 238 (1975). Put another way, the work product doctrine

grants attorneys “a zone of privacy within which to prepare the client’s case and plan strategy,
Case 1:13-cr-10200-GAO Document 180-1 Filed 02/20/14 Page 3 of 7

without undue interference.” Jn re San Juan Dupont Plaza Hotel Fire Litigation, 859 F.2d 1007,
1014 (1st Cir. 1988).

Specifically, for example, courts “have held that defense counsel’s selection and
compilation of documents in preparation for pretrial discovery fall within the highly-protected
category of opinion work product.” United States v. Horn, 811 F. Supp. 739, 746 (D. N.H.
1992), rev'd in part on other grounds, 29 F.3d 754 (1st Cir. 1994). In Horn, the court found that
the government had improperly invaded defense work product where the prosecution had
directed a vendor to make an additional copy for the government of materials that the defense
had selected to be copied. See id. Based on similar reasoning, in United States v. June, 2011
U.S. Dist. LEXIS 127902 (D. Mass. Oct. 19, 2011), the Court order the government to permit the

defense to review and copy original documents without the presence of an agent.

A. FBI Monitoring.

The SAMs require that any visits by defendant’s family members “be contemporaneously
monitored by the USMS/BOP/DF and/or FBI, in a manner that allows such visits to be analyzed
for indications the visit is being used to pass messages soliciting or encouraging acts of violence
or other crimes, or to otherwise attempt to circumvent the SAM.” Exhibit A to defendant’s
Motion to Vacate SAMs, § 3.f.iii.(1). [Dkt # 110-1.] In practice, an FB] case agent from the
underlying investigation, Timothy Brown, has been physically present in the small interview
room used during visits by the defendant’s sisters that defense counsel have organized and in
which a member of the defense team has participated.

As detailed below, the agent’s physical presence has thwarted the defense ability to
develop important mitigation information. Moreover, the fact that monitoring is being

performed by a case agent, specifically, also threatens attorney work product and creates a
Case 1:13-cr-10200-GAO Document 180-1 Filed 02/20/14 Page 4 of 7

scenario where government observations of the defendant’s demeanor may be used against him

at trial, which is not a legitimate purpose of the SAMs.

1. Development of Mitigation Evidence.

The critical role of defense-observed interactions between Mr. Tsarnaev and his sisters in
developing mitigation evidence and the obstacles posed by FBI in-person observation, are
described by the lead defense mitigation specialist in an ex parte and sealed declaration that
accompanies this motion.

Courts have recognized the types of information that the defense seeks to develop as
admissible mitigation evidence. For example, evidence regarding the defendant’s relationship
with his family, and the impact that his execution would have on family members, has been
presented as mitigation evidence. See, e.g, Payne v. Tennessee, 501 U.S. 808, 825-26 (1991).
Similarly, evidence regarding family dysfunction, mental illness, and the impact of family chaos
on the defendant as he grew up, has long been recognized as appropriate mitigating evidence.
See, e.g., Porter, 558 U.S. at 40; Wiggins, 539 U.S. at 524-25.

The defense request to participate in unmonitored visits between the defendant and
family members is not unusual. In other federal capital cases, U.S. Marshals and/or jail or
prison facilities have arranged for confidential, contact visits with defense team members,
selected family members of the defendant and the defendant without the presence of law
enforcement or prosecution agents.

2. Avoiding Abuse of SAMs and Protecting Work Product.

The purported purpose of in-person visit monitoring under the SAMs is to prevent the
passing of messages or incitement of violence. The monitoring is not properly imposed as a tool

to invade attorney work product — the choice of topics and information concerning family
Case 1:13-cr-10200-GAO Document 180-1 Filed 02/20/14 Page 5 of 7

history and dynamics that the defense team aims to elicit and observe — or to develop
information about the defendant’s demeanor for use by the government at trial.

Special Agent Brown has been present during all of the sisters’ visits to date, has
provided directions at the beginning of each visit, has admonished the sisters and Mr. Tsarnaev
to speak only in English, has listened to the content of the conversations as they occur, and has
taken notes. Short of vacating or modifying the SAMs, the defense has requested that a taint
team be used to monitor visits, and/or that none of Agent Brown’s observations, or notes, be

provided to anyone on the prosecution team. The prosecution has refused this request.

B. BOP Screening of Materials for Review with Defendant.

Other than an apparent misunderstanding about family photographs that defense counsel
brought to the prison in September 2013, noted in the original motion papers, over the course of
several months BOP personne! had not sought to inspect or review substantively items that
defense counsel brought to the prison to review with Mr. Tsarnaev. BOP has stationed a stand-
alone desktop computer in the interview room where counsel meet with Mr. Tsarnaev to
facilitate viewing of digital materials. Over the course of several weeks, defense counsel began
to review various digital materials on CD/DVD-ROM with the defendant using this computer.

However, on January 24, 2014, BOP staff asked to review the content of a CD that
defense counsel had brought in to review with their client. In the absence of a taint team,
defense counsel declined to submit to the review and therefore were unable to review the
material with the defendant. Since that time, staff have asked counsel if they are bringing in
digital media to review with Mr. Tsarnaev. Pending resolution of this issue, counsel have not

sought to do so.
Case 1:13-cr-10200-GAO Document 180-1 Filed 02/20/14 Page 6 of 7

Consistent with the teaching of Horn, supra, government knowledge of materials that the
defense has selected to review with the defendant would undermine the integrity of attorney
work product. The defense has requested that the government employ a taint team for this
purpose, but the prosecution has declined to do so.

Conclusion

For the foregoing reasons, as well as the reasons identified in prior filings and oral
argument, the Court should vacate the SAMs in their entirety. Alternatively and/or in addition,
the Court should (1) order that unmonitored family visits be permitted under the supervision of a
defense team member; and (2) order the government to employ a “taint team” to protect attorney
work product.

Respectfully submitted,

DZHOKHAR TSARNAEV

by his iN cys
Viel, (adhd

Judy Clarke. Esq.

California Bar: 7607]

CLARKE & RICE, APC

1010 Second Avenue, Suite 1800
San Diego, CA 92101

(619) 308-8484
JUDYCLARKE@JCSRLAW.NET

Miriam Conrad, Esq. (BBO # 550223)
Timothy Watkins, Esq. (BBO # 567992)
William Fick, Esq. (BBO # 650562)
FEDERAL PUBLIC DEFENDER OFFICE
51 Sleeper Street, 5th Floor

(617) 223-8061

MIRIAM_CONRAD@FD.ORG
TIMOTHY_WATKINS@FD.ORG
WILLIAM_FICK@FD.ORG
Case 1:13-cr-10200-GAO Document 180-1 Filed 02/20/14 Page 7 of 7

Certificate of Service

I, Judy Clarke, hereby certify that I have served a copy of the foregoing document on
counsel of record for the government on this 11th day of February, 2014, by e-mail PDF.

| vy My bed

Judy Clarke

